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HUH)BY ' qc_
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE USAUGlZ AH g.hs
WESTERN DIVISION

 

QEMBEW s mem

ANGELA McCUTCHEN and
CHRISTOPHER McCUTCHEN,

Plaintiffs,

vs. No. 05-2142 Ml/v
METRoPoLITAN covERNMENT oF
NASHVILLE AND DAVIDsoN coUNTY,
wILLIAM PATTERsoN, GALEN
sANDERs, PAuL sHARPE, TIPToN
coUNTY, LAURA ADKINS, wILLIAM
wHITE and BRANnoN wILLIAMs

v`¢vvvvvvvvvv\-lvv

Defendants.

 

ORDER GRANTING PLAINTIFFS' MDTION TO AMEND COMPLAINT

 

Before the court is the July 20, 2005 motion of the
plaintiffs, Angela McCutchen and Christopher McCutchen, requesting
that the court grant their request to file an amended complaint in
this case. The plaintiffs seek to amend their complaint to make
additional allegations discovered after the filing of the original
complaint. This motion has been referred to the United States
Magistrate Judge for determination. For the following reasons, the
motion is granted.

Pursuant to Local Rule 7.2(a)(2), responses to motions in
civil cases are to be filed within fifteen days after service of

the motion. The defendants in this case have not filed a response

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with Hufe 55 and/or 79(e) FRCP on ' '

 

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to this motion, and the time for responding has now expired. Rule
7.2 (a) (2) further provides that “[f] ailure to respond timely to any
motion,. other than one for requesting dismissal of a claim or
action , may be deemed good grounds for granting the motion." In
the absence of any response by the defendants, the McCutchen's
motion to file an amended complaint is granted.

IT Is so oRDERED this 11th day of August, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE J'U'DGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
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Honorable J on McCalla
US DISTRICT COURT

